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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                            NO. 4:14CR00010-06-JLH

ROOSEVELT LAMONT MARTIN                                                    DEFENDANT

                                         ORDER

       Defendant Roosevelt Lamont Martin filed a pro se motion to appoint counsel

(docket entry #345), and Judge J. Leon Holmes referred the motion to this Court for

disposition. (#346) In the motion, Mr. Martin states that issues of payment and

professionalism caused him to dissolve his relationship with retained counsel.

       The Court previously determined that Mr. Martin is financially unable to employ

counsel. (#127) For good cause shown, Defendant’s motion (#345) is GRANTED.

Jimmy C. Morris, Jr. is relieved of further representation, and Sara F. Merritt, 410 West

26th Street, Suite 2, North Little Rock, Arkansas, 72114, is re-appointed to represent

Defendant Martin in all further proceedings.1

       DATED this 2nd day of December, 2014.


                                          ___________________________________
                                          UNITED STATES MAGISTRATE JUDGE




       1
        This Court appointed Ms. Merritt to represent Mr. Martin before he retained Mr.
Morris. (#35, #127, #203)
